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7. I'N CASEJ'MATTER OF [Case Nlme)

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is. a. Arralgnment and/or Plea

h. Bai| and Detention Hearings

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(Rate per hour = $ ) TOTALS:
16. a. Interviews and Conl'erences
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7 IN COURT COMP 25. OTHER EXPENSES

 

 

 

 

 

 

 

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UNITD sATES DISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 35 in
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Honorable Samuel Mays
US DISTRICT COURT

